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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
      United States of America,                  Case No. 2:18-cr-00422-PHX-DJH
 9
10                         Plaintiff,                     [PROPOSED] ORDER

11    vs.
12    James Larkin (2), et al.,
13
                           Defendants.
14
15          Upon consideration of Defendant James Larkin’s Unopposed Motion to Amend

16   Conditions of Release, and good cause appearing,

17          IT IS ORDERED granting the Motion and amending Defendant James Larkin’s

18   conditions of release to remove the condition requiring location monitoring technology.

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